106 F.3d 392
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Anthony A. BLAGROVE, Defendant-Appellant.
    No. 96-7196.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 23, 1997.Decided Feb. 4, 1997.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Robert G. Doumar, Senior District Judge.  (CR-95-52, CA-96-599)
      Anthony A. Blagrove, Appellant Pro Se.  William David Muhr, OFFICE OF THE UNITED STATES ATTORNEY, Norfolk, VA, for Appellee.
      Before RUSSELL, WILKINS, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Anthony A. Blagrove seeks to appeal the district court's order denying his first motion filed under 28 U.S.C. § 2255 (1994), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214, dismissing his next three § 2255 motions and denying his motion for appointment of counsel.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.  United States v. Blagrove, Nos.  CR-95-52, CA-96-599 (E.D.Va. July 11, 1996).  Blagrove's motion for appointment of counsel is also denied.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    